                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION

    UNITED STATES OF AMERICA,
                 Plaintiff,                                No. CR16-1021-LTS
    vs.                                              ORDER ON DEFENDANT’S
                                                       MOTION TO REOPEN
    EDWARD BEHRENS,                                   DETENTION HEARING
                 Defendant.
                                    ____________________

                                    I.     INTRODUCTION
          This matter is before me on defendant’s motion (Doc. No. 109) to reopen the
detention hearing held on May 9, 2016, by Chief United States Magistrate Judge Jon
Stuart Scoles. Plaintiff (the Government) has filed a resistance (Doc. No. 110) and
defendant has filed a response (Doc. No. 111).


                              II.        PROCEDURAL HISTORY
          On May 2, 2016, defendant was charged by complaint (Doc. No. 9 in No. 16-mj-
141) with conspiracy to distribute methamphetamine.1 On May 9, 2016, Judge Scoles
conducted a preliminary examination and hearing on the Government’s motion for pretrial
detention. Assistant United States Attorney Lisa C. Williams appeared on behalf of the
Government. Defendant appeared personally and with his attorney, Brian D. Johnson.
The Government presented the testimony of FBI Special Agent Scott Irwin. The record
before Judge Scoles also included information contained in the pretrial services report
(Doc. No. 41 in No. 16-mj-141).



1
  The Grand Jury later returned an indictment (Doc. No. 10) charging defendant with conspiracy
to distribute a controlled substance in violation of 21 U.S.C. § 841(a)(1) and 846.


      Case 2:16-cr-01021-LTS-MAR           Document 112    Filed 09/07/16    Page 1 of 4
        On May 10, 2016, Judge Scoles entered an order of pretrial detention in which he
found (a) that probable cause existed to believe defendant committed the offense alleged
in the complaint and (b) that there were no conditions that would reasonably assure the
defendant’s appearance as required and the safety of the community if he were to be
released. Doc. No. 18 at 6. Defendant filed an appeal (Doc. No. 19) the following
day. On June 3, 2016, I entered an order affirming the order of detention. Doc. No.
65.


                             III.   STANDARD OF REVIEW
        A United States Magistrate Judge may issue orders “pursuant to Section 3142 of
Title 18 concerning release or detention of persons pending trial . . . .” 28 U.S.C. §
636(a)(2). If the magistrate judge orders pretrial detention, the defendant may seek
review by a United States District Judge pursuant to 18 U.S.C. § 3145(b). The district
judge must then conduct a de novo review of the detention order.         See United States v.
Maull, 773 F.2d 1479, 1481 (8th Cir. 1985) (en banc).
        Title 18 U.S.C. § 3142(f)(2) allows the court to reopen a detention hearing under
the following circumstances:
        The hearing may be reopened, before or after a determination by the judicial
        officer, at any time before trial if the judicial officer finds that information
        exists that was not known to the movant at the time of the hearing and that
        has a material bearing on the issue whether there are conditions of release
        that will reasonably assure the appearance of such person as required and
        the safety of any other person and the community.

18 U.S.C. § 3142(f)(2). Thus, the hearing may be reopened if (1) information exists
that was not known to the movant at the time of the hearing and (2) that information has
a material bearing on the issues of whether there are conditions of release that will
reasonably assure the appearance of such person as required and the safety of the
community.
                                               2



      Case 2:16-cr-01021-LTS-MAR        Document 112        Filed 09/07/16    Page 2 of 4
                                   IV.     DISCUSSION
       The offense charged in the indictment falls within the offenses listed in 18 U.S.C.
§ 3142(f)(1). As such, and as I found in my prior order, there is a presumption in favor
of detention.   With this presumption in mind, I will address whether defendant has
presented any new and material information that would justify the reopening detention
hearing.
       Here, defendant argues that at the time of the detention hearing, his attorney was
unaware of his affiliation with a motorcycle gang. Defendant states his attorney has
now learned that the organization at issue (the Matadors Motorcycle Club) is not involved
in any criminal activity. Defendant argues that the order of detention was based on this
affiliation and that this new evidence is material, as it shows that he is not a danger to the
community. I disagree.
       My order affirming Judge Scoles’ order of detention noted that defendant’s
criminal history included a violent offense (battery), that he had been involved with a
motorcycle gang and that law enforcement in Wisconsin had been advised to use caution
when approaching defendant.         Additionally, and more importantly, I found that
“standing alone, the evidence indicating that a loaded handgun and distribution quantities
of illegal drugs were discovered in defendant’s vehicle is strongly suggestive of
dangerousness.” Doc. No. 65 at 4. Even disregarding any possible involvement with
a motorcycle gang, the evidence still overwhelmingly supports a finding of
dangerousness. Thus, assuming the “new” information at issue “was not known to the
movant at the time of the hearing” (which, frankly, seems highly doubtful), I find that it
is not material to my determination that defendant presents a risk of danger to the
community if he were to be released.




                                              3



    Case 2:16-cr-01021-LTS-MAR           Document 112      Filed 09/07/16    Page 3 of 4
                                V.     CONCLUSION
      For the foregoing reasons, it is hereby ordered:
      1.     Defendant’s motion to reopen detention hearing (Doc. No. 109) is denied.
      2.     The period of time between the filing of defendant's motion and the filing
of this order is excluded from calculation under the Speedy Trial Act. 18 U.S.C. §
3161(h)(1)(F) (excluding delay resulting from the filing of any pretrial motion through
the prompt disposition of the motion); 18 U.S.C. § 3161(h)(1)(J) (excluding “delay
reasonably attributable to any period, not to exceed thirty days, during which any
proceeding concerning the defendant is actually under advisement by the court”).


      IT IS SO ORDERED.
      DATED this 7th day of September, 2016.




                                 ________________________________
                                 LEONARD T. STRAND
                                 UNITED STATES DISTRICT JUDGE




                                           4



   Case 2:16-cr-01021-LTS-MAR        Document 112        Filed 09/07/16   Page 4 of 4
